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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 21-cr-291-1 (ABJ)
               v.                             :
                                              :
THOMAS F. SIBICK                              :
                                              :
                       Defendant.             :


  GOVERNMENT’S UNOPPOSSED MOTION TO HOLD ORDER DIRECTING THE
    GOVERNMENT TO PUBLICLY RELEASE DEFENSE VIDEO EXHIBIT IN
                          ABEYANCE


       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby respectfully moves for the Court for an order temporarily holding

in abeyance its October 26, 2021 minute order granting ECF No. 85, the Second Application for

Access to Video Exhibits by the Press Coalition for access to a video exhibit presented by the

defense, and ordering the Government to make the defense exhibit available for public access. As

set forth in the minute order and the Government’s Response (ECF No. 85), the Government does

not object to the disclosure of the video exhibit, nor to its release for further dissemination. The

Government has regularly been producing Government video exhibits that constitute judicial

records pursuant to court orders. However, in light of the issues raised by the Government serving

as the conduit for the release of judicial records consisting of defense exhibits, the Government

has reached out to the D.C. Office of the Federal Public Defender (“FPD”) and has scheduled a

meeting with FPD and court personnel next week to discuss these issues.

       On October 28, 2021, undersigned counsel spoke on the phone with defense counsel

Stephen Brennwald, who stated that the defense does not oppose this motion.
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       Accordingly, the Government moves this Court to hold its October 26, 2021 minute order

in abeyance until November 5, 2021.

                                            Respectfully submitted,

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                                            DC Bar No. 415793


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